AO 106 (Rev. 04/10) Application for a Search Warrant

UNITED STATES DISTRICT COURT

for the
Middle District of North Carolina

In the Matter of the Search of

(Brie/ly describe the property to be searched

or identijj) the person by name and address)
INFORMATION ASSOCIATED WITH
ashwimvijayrao@gmail.com THAT IS STORED AT
PREMISES CONTROLLED BY GOOGLE INC.

Case No. \K MT$L&G _ (

APPLICATION FOR A SEARCH WARRANT

l, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identijj» the person or describe the

h d d ` ‘ ' .' . .
prl§‘ii'e\ratil tgc[beosligicof acs'ii ibi/ij’§\§/(i'caadl@lémai|.com located at Goog|e lncorporated, 1600 Amphitheatre Way, Mountaln Vlew,
California 94043
located in the Northern District of Cal'lfornla , there is now concealed (idemi/y the

person or describe the property to be seized)!
email account: ashwimvljayrao@gmai|.com

The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
l!{ evidence of a crime;
C] contraband, fruits of crime, or other items illegally possessed;
E{ property designed for use, intended for use, or used in committing a crime;
EI a person to be arrested or a person who is unlawfully restrained

The search is related to a violation of:

Code Section ijfense Descriptl`on
18 U.S.C. § 1343 Fraud by Wire, Radio or Television
18 U.S.C. § 1349 Attempt and conspiracy

The application is based on these facts:
See attached.

E{ Continued on the attached sheet.

l:l Delayed notice of days (give exact ending date if more than 30 days: __ ) is requested
under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

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a

Applicant ’s signature

Patrick S. Berckmiller Specia| Agent

Printed name and title

Sworn to before me and signed in my presence. '

 

 

 

 

 

Date: ul KO))§ q:OS A;A’L j L /;vl.~v/‘\._)

Judge ’s signature

City and state: DURHAM, NC HON. JOE L. WEBSTER, U.S. MAG|STRAGE JUDGE

Printed name and title

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE l\/.[IDDLE DISTRICT OF NORTH CAROLINA

lN THE MATTER OF THE SEARCH

OF INFORMATlON ASSOClATED CaSe NO. ` g mg 43 - \
WITH ashwimvi]ayrao@gmail.com

THAT IS STORED AT PREl\/[ISES

CONTROLLED BY GOOGLE INC.

 

 

AFFIDAVIT IN SUPPORT OF
AN APPLICATION FOR A SEARCH WARRANT

 

1. l, Patrick S. Berckmiller, affiant herein, being first duly sworn,
hereby depose and state as follows:

INTRODUCTION AND AGENT BACKGROUND

 

2. I am a Special Agent of the Federal Bureau of Investigation (FBI)
and has been so employed since November 1998. Since April 2016, affiant has
been assigned to investigate cyber-related crimes to include fraud and related
activity in connection with computers From l\/larch 1999 until April 2016,
affiant was assigned to investigate foreign counterintelligence matters and
theft of trade secrets crimes. Affiant received training from the FB:[ regarding
cyber crimes, foreign counterintelligence and theft of trade secrets, and has
previously been involved in investigations involving espionage, export
violations, bank robbery, kidnapping, fugitives from justice, white collar

crimes and computer crimes involving the theft of proprietary data. l\/lost

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recently, l have been involved in an investigation regarding a Business Email
Compromise (BEC). As a Federal Agent, 1 am authorized to investigate
violations of laws of the United States and to execute warrants issued under

the authority of the United States.

3. The facts in this affidavit come from my personal observations,
my training and eXperience, and information obtained from other agents and
witnesses This affidavit is intended to show merely that there is sufficient
probable cause for the requested warrant and does not set forth all of my
knowledge about this matter.

4. Based on my training and experience and the facts as set forth in
this affidavit, there is probable cause to believe that violations of 18 U.S.C.
§ 1343, Fraud by Wire, Radio or Television, and 18 U.S.C. § 1349, Attempt
and conspiracy have been committed by Lamar Rhashad MURRIELL and
James RAGLAND. There is also probable cause to search the information
described in Attachment A for evidence of these crimes, as described in
Attachment B.

5. l make this affidavit in support of an application for a search
warrant for information associated With one e-mail account that is stored at
premises controlled by Google lnc., an e-mail provider headquartered at 1600

Amphitheatre Parkway, l\/lountain View, California, 94043. The information

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to be searched is described in the following paragraphs and in Attachment A.
This affidavit is made in support of an application for a search warrant under
18 U.S.C. §§ 2703(a), 2703(b)(1)(A) and 2703(c)(1)(A) to require Google lnc. to
disclose to the government copies of the information (including the content of
communications) further described in Section l of Attachment B. Upon
receipt of the information described in Section l of Attachment B,
government-authorized persons will review that information to locate the
items described in Section ll of Attachment B.
JURISDICTION

6. This Court has jurisdiction to issue the requested warrant
because it is “a court of competent jurisdiction” as defined by 18 U.S.C. §
2711. See 18 U.S.C. §§ 2703(a), (b)(1)(A) & (c)(1)(A). Specifically, the United
States District Court for the l\/liddle District of North Carolina is “a district
court of the United States . . . that - has jurisdiction over the offense being
investigated.” 18 U.S.C. § 2711(3)(A)(i).

PROBABLE CAUSE

 

7. This affidavit proceeds as follows. ln this section, l outline the
factual allegations in support of a warrant to search one email account.
Business Email Compromise #1
8. ln June 2018, Federal Bureau of lnvestigation Special Agent Patrick

Berckmiller learned of a Business Ernail Compromise (abbreviated BEC, a

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sophisticated scam targeting businesses working with foreign suppliers
and/or businesses that regularly perform Wire transfer payments). ln
February 2018, Sari Gallegos (“VlCTll\/[ 1”) was purchasing a home at 8140
San l\/liguel Avenue, South Gate California. Gallegos received wiring
instructions for the down payment of her home from her loan officer, Steve
Racius. However the email address where the instructions came from was
frontdesk_add@comcast.net. The email was ostensibly from Steve Racius and
provided wiring instructions for the down payment for this property. The
fraudulent wiring instructions sent to Gallegos at her email address of
Gallegos.sari@yahoo.com caused her to wire $56,593.90 on February 6, 2018,

into Bank of America account number 237037782397.

9. This Bank of America account was opened on December 29, 2017,
under the name of l\/lurrays lnternational Consulting, owned by Lamar
Rhashad l\/[URRIELL, DOB: April 30, 1987, address: 5107 Twelvepole Drive,
Raleigh, NC 27616-5877. l\/[URRIELL is the only person listed on this
account and is identified as “President” of this company on the Bank of
America Business Signature Card, dated December 29, 2017. MURRIELL
provided a North Carolina driver’s license, number 20594244, as
identification to Bank of America. The investigation determined that this

Bank of America account had two withdrawals made by two checks on

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February 7, 2018. These two cashier’s checks from Bank of America were
made payable to Lamar Rhashad MURRIELL for $15,541.00 and to James

RAGLAND for $32,885.00.

10. James RAGLAND, DOB July 31, 1991, is the only authorized
signer for Woodforest National Bank Business Simple Checking Account
number 1827001783 (under the business name of Throne l\/fanagement Group
LLC.) RAGLAND provided the email address of jay_rag@yahoo.com and
identified himself as the “President” of Throne l\/lanagement Group LLC. On
February 7, 2018, RAGLAND made three deposits to this bank account, in
the amounts of $33,2'75.00, $75.00 and $1,800.00, for a total deposit amount
of $35,150.00. RAGLAND’S three deposits on February 8, 2018, included the
check from the Murrays lnternational Consulting account for 832,885.00,

which originated from the fraudulent wire transfer from VlCTll\/l 1.

11. On February 8, 2018, James RAGLAND wired $22,000.00 from
Woodforest National Bank Account number 1827001'788 to State Employee
Credit Union account number 08644583711 (beneficiary: J ames RAGLAND).
On February 8, 2018, RAGLAND also made three withdrawals from the
Woodforest National Bank Account in the amounts of $2,000.00, $3,036.00
and $1,000.00. The total withdrawals made by RAGLAND on February 8,

2018 were $28,036.00.

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12. The remaining funds from the fraudulent wire transfer totaled
$8,16'7.14, and Were used by MURRIELL’s debit card. The purchases
included payments on a car loan and car insurance in the name of
MURRIELL. Additionally, l\/[URRIELL purchased two handguns in his name
along with ammunition and a holster. l\/.[URRIELL also made purchases for
shoes, a laptop computer and other electronics MURRIELL closed the
l\/lurrays lnternational Consulting account at Bank of America on February

14, 2018.

Business Email Compromise #2

13. On or about l\/[arch 23, 2018, Evergreen Settlement, 8923 Shady
Grove Court, Gaithersburg, Maryland 20877, served as the settlement
company in a real estate transaction involving an owner and seller of a
property located at 8603 Enoch Pratt Drive, Ellicott City, l\/laryland 21043.
Evergreen Settlement received fraudulent wiring instructions from email
address ashwimvijayrao@gmail.com, directing $95,282.88 to be wired to
Wells Fargo Bank account 9869840554. The beneficiary Was intended to be
Ashwin Rao (VlCTll\/l 2), but the fraudulent instructions changed the
beneficiary to “Ashwin Rao Precision”. Wells Fargo Bank account number
9869840554 is in the name of “Precision Trucking and Transport lnc.” with

an additional account customer identified as Lamar Rhashad MURRIELL.

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The bank account application states that it was established on l\/larch 5,
2018, with annual gross sales of $250,000.00, with one location and one
employee. The industry is identified as “Transportation and Warehousing”
and the description of the business: “TRUCK DRIVERS”. The account was
opened on l\/larch 16, 2018, with the listed address being 3737 Glenwood
Avenue, Suite 100, Raleigh, North Carolina 27612. That is an address for a
Regus business location, which rents office space, virtual offices, co-working
spaces and meeting rooms The April 2018 statement for this bank account
lists 510'7 Twelvepole Drive, Raleigh, NC 27616-5877, the home address for
Lamar Rhashad MURRIELL. Evergreen identified the fraudulent
instructions and did not wire any funds This account was closed on June 22,

2018.

Business Email Compromise #3

14. On December '7, 2017, Westar Escrow, lncorporated, of San Diego,
California, served as a party in a real estate transaction involving an owner
and a seller of a property. The beneficiary was listed as l\/lichael and Lydia
Wisz (VlCTll\/l 3). Westar received fraudulent wiring instructions from email
address supportcentr@comcast.net directing $96,584.76 in closing funds to be
wired to Bank of America account 237 037540322, 4002 University Parkway,

Winston-Salem, North Carolina. The intended beneficiary was listed as

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l\/lichael and Lydia Wisz. Bank of America account 23703'7540822 lists the
account in the name of Different Cloth Cleaning with Clarence McCorkle,
DOB June 4, 1990, as the signer for the account. Following the fraudulent
wire transfer of $96,584.76 on 12/07/2017, several transactions occurred on
December 8, 2018. These transactions totaled $'76,464,46. On December 8,
2017 , a cashier’s check made payable to Throne l\/lanagement Group LLC for
James RAGLAND in the amount of $81,620.00 was obtained at Bank of
America, 698 Hanes l\/lall Boulevard, Winston-Salem, North Carolina. On
December 8, 2017 , a cashier’s check made payable to Throne Management
Group LLC for James RAGLAND in the amount of $34,880.00 was obtained
at Bank of America, 1209 Silas Creek Parkway, Winston-Salem, North
Carolina. In addition to the cashier’s checks, on December 8, 2017, a
$5,000.00 teller withdrawal occurred at Bank of America, 4000 University

Parkway, Winston-Salem, North Carolina.

BACKGROUND CONCERNING E-MAIL
15. ln general, an e-mail that is sent to a Google lnc. subscriber is
stored in the subscriber’s “mail boX” on Google lnc. servers until the
subscriber deletes the e-mail. lf the subscriber does not delete the message,

the message can remain on Google lnc. servers indefinitely. Even if the

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subscriber deletes the e-mail, it may continue to be available on Google Inc.’s
servers for a certain period of time.

16. ln my training and eXperience, l have learned that Google lnc.
provides a variety of on-line services, including electronic mail (“e-mail”)
access, to the public. Google lnc. allows subscribers to obtain e-mail accounts
at the domain name @gmail.com, such as the e-mail account[s] listed in
Attachment A. Subscribers obtain an account by registering with Google lnc.
During the registration process, Google lnc. asks subscribers to provide basic
personal information Therefore, the computers of Google lnc. are likely to
contain stored electronic communications (including retrieved and
unretrieved e-mail for Google lnc. subscribers) and information concerning
subscribers and their use of Google lnc. services, such as account access
information, e-mail transaction information, and account application
information, ln my training and eXperience, such information may constitute
evidence of the crimes under investigation because the information can be
used to identify the account’s user or users

17. A Google lnc. subscriber can also store with the provider files in
addition to e-mails, such as address books, Google Hangouts, contact or
buddy lists, calendar data, chat history, pictures via a linked Google Photos
account (other than ones attached to e-mails), bookmarks, and other files

such as those stored in linked Google Documents and Google Drive

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applications on servers maintained and/or owned by Google lnc. Google lnc.
also stores search terms entered into Google Search tool by a user who is
simultaneously logged into their Google e~mail account. ln my training and
eXperience, evidence of who was using an e-mail account may be found in
address books contact or buddy lists e-mail in the account, and attachments
to e-mails, including pictures files and search terms

18. ln my training and eXperience, e-mail providers generally ask
their subscribers to provide certain personal identifying information when
registering for an e~mail account. Such information can include the
subscriber’s full name, physical address telephone numbers and other
identifiers, alternative e~mail addresses and, for paying subscribers means
and source of payment (including any credit or bank account number). In my
training and eXperience, such information may constitute evidence of the
crimes under investigation because the information can be used to identify
the account’s user or users

19. ln my training and eXperience, e-mail providers typically retain
certain transactional information about the creation and use of each account
on their systems This information can include the date on which the account
was created, the length of service, records of log-in (i.e., session) times and
durations the types of service utilized, the status of the account (including

whether the account is inactive or closed), the methods used to connect to the

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account (such as logging into the account via the provider’s website), and
other log files that reflect usage of the account. ln addition, e~mail providers
often have records of the lnternet Protocol address (“IP address”) used to
register the account and the IP addresses associated with particular logins to
the account. Because every device that connects to the lnternet must use an
IP address IP address information can help to identify which computers or
other devices were used to access the e-mail account.

20. ln my training and eXperience, in some cases e-mail account
users will communicate directly with an e-mail service provider about issues
relating to the account, such as technical problems billing inquiries or
complaints from other users E-mail providers typically retain records about
such communications including records of contacts between the user and the
provider’s support services as well records of any actions taken by the
provider or user as a result of the communications ln my training and
eXperience, such information may constitute evidence of the crimes under
investigation because the information can be used to identify the account’s
user or users

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21. Based on the forgoing, l request that the Court issue the

proposed search warrant. Because the warrant will be served on Google lnc.

who will then compile the requested records at a time convenient to it, there

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exists reasonable cause to permit the execution of the requested warrant at

any time in the day or night.

Respectfully submitted,
®Za'f j § ®emé.%
Patrick S. Berckmiller

Special Agent
Federal Bureau of lnvestigation

Subscribed and sworn to before me on aUl'K/K D€L¢;] 0'% HCN`€M)B l’ ali U§_M(
2018

 

 

MIDDLE DISTRICT OF NORTH CAROLINA

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ATTACHMENT A

Property to Be Searched

This warrant applies to all information associated with all Google
services associated with the account listed below, including but not limited to
e~mail, chat communications search history, contacts calendar entries
Google Drive documents Google Hangouts, bookmarks, Google Photo
Albums, which are stored at premises controlled by Google lnc., a company
that accepts service of legal process at 1600 Amphitheatre Parkway,
Mountain View, California, 94043, and electronic legal process via the Google

Law Enforcement Response System (LERS) at https://www.lers.google:

ashwimvij ayrao@gmail.com

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CERTIFICATE OF AUTHENTICITY OF DOMESTIC BUSINESS
RECORDS PURSUANT TO FEDERAL RULE OF EVIDENCE 902(11)

l, , attest, under penalties of

 

perjury under the laws of the United States of America pursuant to 28 U.S.C.
§ 1746, that the information contained in this declaration is true and correct.
l am employed by Google lnc., and my official title is

. l am a custodian of records for Google Inc. l

 

state that each of the records attached hereto is the original record or a true
duplicate of the original record in the custody of Google Inc., and that l am
the custodian of the attached records consisting of

(pages/CDs/kilobytes). l further state that:

a. all records attached to this certificate were made at or near the
time of the occurrence of the matter set forth, by, or from information
transmitted by, a person with knowledge of those matters;

b. such records were kept in the ordinary course of a regularly
conducted business activity of Google lnc.; and

c. such records were made by Google Inc. as a regular practice.

l further state that this certification is intended to satisfy Rule 902(11)

of the Federal Rules of Evidence.

 

Date Signature

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ATTACHMENT B
Particular Things to be Seized
I. Information to be disclosed by Google Inc. (the “Provider”)

l To the extent that the information described in Attachment A is within
the possession, custody, or control of the Provider, in the form of emails
records files logs or information that has been deleted but is still available to
the Provider, or has been preserved pursuant to a request made under 18
U.S.C. § 27 03(f), the Provider is required to disclose the following information
to the government for each account or identifier listed in Attachment A for the

time period January 1, 2018 - September 1, 2018:

a. The contents of all e-mails associated with the account, in the form of
stored or preserved copies of e-mails sent to and from the account, draft
e-mails the source and destination addresses associated with each e-
mail, originating IP information for all e-mails sent from the account,
the date and time at which each e-mail was sent, and the size and length
of each e-mail;

b. All records or other information regarding the identification of the
account, to include full name, physical address telephone numbers and
other identifiers records of session times and durations the date on

which the account was created, the length of service, the lP address used

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to register the account, log-in lP addresses associated with session times
and dates account status alternative e-mail addresses provided during
registration, methods of connecting, log files and means and source of
payment (including any credit or bank account number);

c. The types of service utilized;

d. All records or other information stored at any time by an individual using
the account, in the form of address books contact and buddy lists
calendar data, pictures search history, Google Chat history, Google
Documents files Google Drive files bookmarks, Google Photos albums
and files;

e. All records pertaining to communications between the Provider and
any person regarding the account, including contacts with support
services and records of actions taken.

II. Information to be Seized by the government

All information described above in Section l that constitutes fruits evidence
and instrumentalities of 18 U.S.C. § 1343, Fraud by Wire, radio or television,
and18 U.S.C. § 1349, Attempt and conspiracy, for each account or identifier

listed on Attachment A, information pertaining to the following matters

a. Preparatory steps and communications taken in furtherance of fraud by

wire, radio or television, including attempt and conspiracy.

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b. Records relating to who created, used, or communicated with the

account or identifier, including records about their identities and

whereabouts

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